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              ORAL ARGUMENT NOT YET SCHEDULED
                    APPELLATE CASE NO. 24-4027

         In The United States Court Of Appeals
                For The Tenth Circuit
                   -------------------------------- ---------------------------------
                 ALPINE SECURITIES CORPORATION,

                                              Plaintiff-Appellant,
                           v.
NATIONAL SECURITIES CLEARING CORPORATION, THE DEPOSITORY
 TRUST & CLEARING CORPORATION, and THE DEPOSITORY TRUST
                        COMPANY

                                              Defendants-Appellees,

                      UNITED STATES OF AMERICA,

                                              Intervenor for Defendant-Appellee.
          -----------------------------------------------------------------
 REPLY MEMORANDUM IN SUPPORT OF EMERGENCY MOTION
             FOR INJUNCTION PENDING APPEAL
          -----------------------------------------------------------------
     ON APPEAL FROM THE UNITED STATES DISTRICT COURT FOR THE
              DISTRICT OF UTAH 2:23-cv-00782 JNP JCB
          -----------------------------------------------------------------

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      Plaintiff/Appellant Alpine Securities Corporation (“Alpine”), through

counsel, submits this Reply Memorandum in Support of its Emergency Motion for

an Injunction Pending Appeal and in response to the Opposition Memoranda filed

by Defendants/Appellees National Securities Clearing Corporation (“NSCC”),

Depository Trust Company (“DTC”) and Depository Trust & Clearing Corporation

(“DTCC”) (collectively, “Defendants”) and the United States.

                               INTRODUCTION

      Defendants and the United States ask this Court to ignore not only the plain

and irreparable injury facing Alpine – being barred from engaging in its business

of clearing stocks – but also the Supreme Court’s clear statement that “here and

now” injury exists from being forced to undergo an unconstitutional proceeding by

an illegitimate decision maker. Axon Enter., Inc. v. FTC, 598 U.S. 175, 191 (2023).

This case presents that injury in the starkest terms: Defendants are moving forward

to prevent Alpine from clearing stocks through a proceeding in which their own

Board has made the initial determination, their own Board serves as the Hearing

Panel, and the decision becomes effective without agency review.

      While the injury to Alpine is evident and includes precisely the harm

described by the Supreme Court, no prejudice results from a stay while these issues

are fully considered. Defendants waited two months to move the proceeding

forward, and Alpine has been and is in compliance with even the higher $10


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million ENC requirement. In decades of operation, Alpine has never failed to meet

capital requirements, and Defendants are exposed to no risk from Alpine

continuing to clear trades for its customers whose stock is on deposit at DTC.

      Just as they are determined to obscure the reality of the relative harms,

Defendants and the United States ignore the incontrovertible circumstances that

support the conclusion that Defendants’ structure and operations violate the

Appointments Clause, separation of powers, and the private non-delegation

doctrine. Defendants are exercising significant government power by controlling

access to U.S. securities markets and in convening and presiding over the cease-to-

act (“CTA”) proceeding, and therefore must be officers appointed and supervised

by the President. In their enforcement and adjudicatory function, Defendants are

wielding the same authority, and are subject to the same constitutional infirmities

as the SEC’s ALJs. Lucia v. SEC, 585 U.S. 237 (2018). And, as the D.C. Circuit

recognized, FINRA Hearing Officers are performing the same functions,

exercising significant government authority by virtue of the SEC’s delegation of its

powers conferred by Congress. See Alpine Sec. Corp. v. FINRA, 2023 WL

4703307 (D.C. Cir., July 5, 2023). With respect to FINRA’s nominally private

status, the D.C. Circuit asked the proper question: how can FINRA, which acts

only on authority delegated by the SEC, engage in conduct that the SEC could not?




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Id. at *2-4. It then rightly concluded that the delegee cannot do that which could

not be done by the delegating agency. See id.

      Here, too, Congress conferred enormous power on the SEC to regulate the

securities markets, including to create a national market system for settling

securities transactions. 15 U.S.C. § 78q-1(a). The SEC’s delegation of that power

to purportedly private entities should not be used as a means to strip away the

critical protections and constraints that accompany those powers and prevent

governmental overreach and abuse.

      Defendants and the United States also ask this Court to endorse a wholly

unsupported version of the private nondelegation doctrine. That doctrine, for good

reason, prevents the delegation of governmental powers to private entities except

when certain requirements are met. One is oversight by the agency. Equally critical

is that the private entity must be subordinate to the agency. If a private party can

supplant the agency and wield governmental power on its own, then the doctrine is

gutted. Defendants and the United States insist that private entities can use

governmental powers to deprive individuals of their property and livelihood so

long as there is some down-the-line agency review that occurs after it is far too

late. No court has so held, and this Court should reject their invitation to eviscerate

a critical doctrine that prevents private parties from wielding governmental power

without regard for any Constitutional norms.


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        The D.C. Circuit, under similar circumstances, granted an interim stay of a

FINRA enforcement proceeding and then ordered full briefing and argument to

allow the most comprehensive consideration of these complex and important

issues. We ask this Court to do the same.

                                   ARGUMENT

   I.      ALPINE’S MOTION IS NOT PROCEDURALLY DEFECTIVE

        In an effort to avoid or limit this Court’s review, Defendants claim Alpine’s

Motion is procedurally defective. In addition to being meritless, Defendants’

procedural arguments are immaterial because Defendants cite no authority that the

purported procedural defects deprive this Court of the power to grant the relief

sought: a stay of the CTA proceeding pending appeal.

        First, Defendants claim that DTC is not a proper party to this appeal because

it was not added until after Alpine filed its motion for a preliminary injunction

below. This is immaterial to the relief sought here. DTC became a party to the case

prior to the district court ruling at issue, and is also a party to Defendants’

Opposition on appeal. (Defendants’ Opp., at 1). Moreover, an injunction that stays

the CTA proceeding would also preclude DTC from pursuing the proceeding, even

if it were not a party, because injunctions also bind those in “active concert or

participation” with enjoined parties. Fed. R. Civ. P. 65(d)(2)(C).




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      Second, Defendants claim there is no basis for injunctive relief against

DTCC because it is not itself a registered clearing agency or SRO. But, Defendants

do not dispute that DTCC wholly owns and operates through NSCC and DTC, and

that DTCC’s Board, executives and management are also the Board, executives

and management of NSCC and DTC. Any distinction is both artificial and

meaningless as DTCC is clearly wielding government power unconstitutionally

through NSCC and DTC. If anything, Defendants’ argument that DTCC is not

itself an SRO makes its exercise of government power even worse, as DTCC could

not even claim to be supervised by the SEC.

      Third, Defendants claim that the district court correctly concluded it lacked

jurisdiction over Alpine’s due process claim. However, as Alpine demonstrated in

its opening Motion, the district court’s analysis disregarded the primary aspect of

Alpine’s due process claim: that Defendants’ Hearing Panel is comprised of

members of the Defendants’ collective Board, who are not properly appointed –

and certainly not impartial – adjudicators. See, e.g., Concrete Pipe & Prod. of

California, Inc. v. Constr. Laborers Pension Tr., 508 U.S. 602, 617–18 (1993)

(“[D]ue process requires a ‘neutral and detached judge in the first instance’ and the

command is no different when a legislature delegates adjudicative functions to a

private party.” (citations omitted)). Alpine’s due process claim is also intertwined

with its other constitutional claims against Defendants that challenge, inter alia,


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Defendants’ unconstitutionally appointed and unaccountable Board. As the

Supreme Court determined in addressing similar claims in Axon, claims that allege

constitutional harm from being subjected to “an illegitimate proceeding, led by an

illegitimate decision maker” are subject to immediate jurisdiction under 28 U.S.C.

§ 1331. See Id. at 191; see also id. at 182, 195-96.

         Moreover, everyone agrees the district court had jurisdiction over Alpine

other constitutional claims. Thus, regardless of this Courts’ jurisdictional ruling on

Alpine’s due process claim, this Court can enter an injunction pending appeal

based on Alpine’s other claims.

   II.      ALPINE IS NOT SUBJECT TO HEIGHTENED BURDEN

         Defendants attempt to insulate their conduct further from review by arguing

that Alpine seeks a “mandatory” injunction and thus must meet a heightened

burden. (Defendants Opp., at 10). Defendants are wrong. Alpine commenced this

action before Defendants commenced the CTA proceeding. Alpine was a member

of NSCC and DTC before Alpine filed its Complaint and still has that status now.

Alpine seeks an injunction to stay the CTA proceeding to preserve that status quo

in order to survive long enough to have its constitutional claims fully heard and

addressed on the merits.




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   III.    ALPINE MEETS THE REQUIREMENTS FOR AN INJUNCTION
           PENDING APPEAL

      A.     Alpine has Shown a Substantial Likelihood of Success.

           1. Defendants Exercise Executive Power When They Create and
              Enforce Rules that Operate as Law and Control Access to the
              Securities Markets.
      Defendants and the United States claim that Defendants can receive broad

delegations of governmental power and, with those powers, engage in state action,

but that they are exempt from all of the Constitutional provisions that regulate the

exercise of that power. But Governmental power cannot be allowed to seep

through the cracks in a manner that permits it to be deployed without adherence

even to the guarantee of due process. The SEC could not and did not grant

Defendants a power that the SEC itself does not have, i.e., the ability to wield

government power without abiding by the critical constraints and protections that

Congress embedded in the Constitution. See, e.g., United States v. Ackerman, 831

F.3d 1292, 1296 (10th Cir. 2016) (“[W]hen an actor is endowed with law

enforcement powers beyond those enjoyed by private citizens, courts have

traditionally found the exercise of the police power engaged”).

      Here, the Defendants are wielding governmental power over access to the

securities markets. They have received and are aggressively deploying both the

ability to promulgate rules that have the status of federal law (and preempt state



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law),1 and the ability to use that power to conduct supposed enforcement

proceedings to close a business that has actually complied with their requirements.

Defendants are doing so through a process that this Court has likely never seen and

that should never be countenanced in a fair legal system: having their own Board

determine a rule violation has occurred, seeking the harshest sanction, and then

having a proceeding in which their own Board affirms that determination.

      Whether the Defendants should also be considered state actors involves an

analysis that requires consideration not only of Lebron but also a host of other

authorities that look to the power being wielded to determine whether it is subject

to Constitutional constraints. Defendants and the United States sweep with far too

broad a brush, suggesting that all self-regulatory organizations (“SROs”) “are

‘private’ entities not subject to constitutional constraints.” (Defendants’ Opp., at

13; see also United States Opp. at 20-21).

      That unsupported position unquestionably creates the “constitutional

loophole” that was rejected recently by the D.C. Circuit in Alpine v. FINRA, 2023

WL 4703307, *4. And it misstates the law. The analysis requires consideration of

the extent and nature of the power wielded and the manner in which it is deployed.

See Blount v. SEC, 61 F.3d 938, 941 (D.C. Cir. 1995) (regardless of whether

MSRB is a “private party”, its rule “operates not as a private compact among

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 Whistler Invs., Inc. v. Depository Trust & Clearing Corp., 539 F.3d 1159, 1164
n.º2, 1168 (9th Cir. 2008)
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brokers and dealers but as federal law” and is engaged in “government action of the

purest sort.”); see also Financial Oversight & Management Bd. For Puerto Rico v.

Aurelius, 140 S.Ct. 1649, 1657 (2020) (Constitution’s “structural constraints,

designed in part to ensure political accountability, apply to all exercises of federal

power[.]” (emphasis added)).

      This particular case illustrates the dangers inherent in permitting the

wielding of governmental powers by nominally private entities that eschew any

Constitutional obligations and imposes its will in ways that no jurist would have

ever envisioned.

         2. Alpine Is Likely to Prevail on its Claim that Defendants Violate
            the Private Nondelegation Doctrine.
      Defendants and the United States maintain there is no impropriety arising

from the fact that its Board, who are themselves participants in the securities

industry, are wielding governmental power over other securities firms. Yet that

circumstance was an essential part of the decision in Carter v. Carter Coal Co.,

298 U.S. 238 (1936), in which the Supreme Court held that giving regulatory

power to “private persons whose interests may be and often are adverse to the

interests of others in the same business” was an unconstitutional “legislative

delegation” of a “governmental function.” Id., at 311-312.

      The non-delegation doctrine, if it is to have any meaning, must be

interpreted to ensure that the private entity performs a limited and subordinate role.

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Contrary to the Defendants’ argument, the court in Oklahoma v. United States, 62

F.4th 221, 228 (6th Cir. 2023), made clear the limits of a subordinate role: “a

private entity may not be the principal decisionmaker in the use of federal power,

may not create federal law, may not wield equal power with a federal agency, or

regulate unilaterally.” Id. at 229 (emphasis added). That court explained that a

rulemaking process is proper where the agency reviews the rule before it becomes

effective. Id. at 231 (holding that a private entity is subordinate where it “may only

‘propose’ rules to the Commission” which rules cannot go into effect “unless the

proposed rule has been approved by the Commission.”).

      The same must be true of adjudicatory decisions:

             As with rulemaking, so with adjudication: The Authority's
             adjudication decisions are not final until the FTC has the
             opportunity to review them.

Id. (emphasis added). Nat'l Horsemen's Benevolent & Protective Ass’n v. Black, 53

F.4th 869, 873 (5th Cir. 2022) (held that the “Authority's power outstrips any

private delegation the Supreme Court or our court has allowed. We must therefore

declare HISA facially unconstitutional.”).

      Defendants employ doublespeak to try to claim that Oklahoma does not say

what it plainly says: that, to comply with the private nondelegation doctrine,

adjudication decisions may not be final – or effective – until the agency reviews

them. The chance of after-the-fact review does not change that requirement.


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      B.     The Remaining Equitable Factors Favor a Stay of the CTA
             Proceeding Pending Resolution of the Appeal.

      Alpine has clearly established the remaining equitable factors. Defendants

do not dispute that they seek, through the CTA proceeding, to cease to act for

Alpine and terminate its membership in both NSCC and DTC. Instead, they argue

that Alpine would suffer no harm because it could clear trades indirectly through

other members. This argument is meritless. Defendants ignore that Alpine is a

clearing broker; it generates revenue by clearing trades for its customers. Thus, to

continue to operate its actual business, it must be a member of NSCC and DTC.

      Moreover, Defendants disregard the constitutional injury that the Supreme

Court in Axon recognized as establishing irreparable harm: being subjected to an

“illegitimate proceeding by an illegitimate decision maker”—“a here-and-now

injury” that “cannot be undone.” Axon, 598 U.S. at 191; see also Alpine v. FINRA,

2023 WL 4703307, *2 (finding irreparable harm satisfied on this basis); cf. also

Awad v. Ziriax, 670 F.3d 1111, 1132 (10th Cir. 2012) (preventing constitutional

harms is “always in the public interest”). The possibility of after-the-fact review on

appeal to the SEC can neither alleviate the constitutional injury, nor bring back the

customers that Alpine will have lost once it can no longer clear their trades. Alpine

would be out of business by then.

      Conversely, Defendants have failed to show they would suffer any harm

from staying the CTA proceeding. Defendants’ choice not to use their summary
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proceeding, and the long delay between the November 9, 2023 Notice of the CTA

proceeding and the scheduling of any hearing alone demonstrates it is not urgent.

Nor do Defendants dispute that Alpine has been in compliance with the ENC

requirements and Defendants’ other rules for months and that Defendants have

continued clearing for Alpine without incident.

                                 CONCLUSION

      For the foregoing reasons, the Court should grant Alpine’s Emergency

Motion and stay the CTA proceeding.

      Dated this 14th day of March 2024

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      Dated this 14th day of March 2024:

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      I hereby certify that on the 14th day of March 2024, I caused the foregoing

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                                      /s/ Aaron D. Lebenta
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